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 4                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 5                                              AT SEATTLE

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 8
      SENIOR HOUSING ASSISTANCE GROUP,
 9
                             Plaintiff,                            Case No. C17-1115 RSM
10
                     v.                                            TAXATION OF COSTS
11
      AMTAX HOLDINGS 260, LLC, et al.,
                    Defendants.
12

13

14
            Having considered briefs in support of, and in opposition to, the cost bill herein, costs in the
15
     cause indicated above are hereby taxed against PLAINTIFF - SENIOR HOUSING ASSISTANCE
16
     GROUP, and on behalf of DEFENDANTS - AMTAX HOLDINGS 260, LLC, et al. in the amount of
17
     $12,434.74 and included in the judgment as follows:
18
                                                              Requested         Disallowed         Allowed
19
      Fees for transcripts necessarily obtained for use      $13,939.94          $5,370.55         $8,659.69
20
      in the case.
21
      Costs for the Jay Woolford and Bryan Park video depositions are not allowed. The original trial
22
      transcript cost is withdrawn.
23    Fees for witnesses.                                     $1,351.95             -0-            $1,351.95
24

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26   TAXATION OF COSTS -- 1
               Case 2:17-cv-01115-RSM Document 184 Filed 05/13/19 Page 2 of 2



 1                                                          Requested       Disallowed    Allowed
 2   Fees for exemplification and the costs of making       $2,423.10           -0-       $2,423.10

 3   copies.

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 7                               Dated this     13th        day of May, 2019.

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                                                William M. McCool, Clerk
10                                              U. S. District Court

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12                                              By:          s/ Joseph Whiteley
                                                      Joseph Whiteley, Deputy in Charge
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26   TAXATION OF COSTS -- 2
